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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                          EASTERN DISTRICT OF CALIFORNIA
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10
11      UNITED STATES OF AMERICA, )        1:06-CR-0059 AWI
                                  )
12                Plaintiff,      )        GOVERNMENT’S MOTION TO OBTAIN
                                  )        HANDWRITING SAMPLE AND ORDER
13           v.                   )
                                  )        Date: November 13, 2007
14      FRANCHESKA BRIZAN,        )        Time: 11:00 a.m.
                                  )        Place: Courtroom Two
15                Defendant,      )        Honorable Anthony W. Ishii
                                  )
16                                )
     _____________________________)
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18                             I.   STATEMENT OF FACTS
19        Defendant FRANCHESKA BRIZAN is charged in this case with
20   conspiring to distribute and to possess with intent to distribute
21   cocaine (count one) and attempted possession of cocaine with intent
22   to distribute (count three).      21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),
23   841(b)(1)(B), and 846.     The evidence will show that defendant
24   FRANCHESKA BRIZAN is the wife of defendant PHILIP BRIZAN, a leader
25   of the distribution cell responsible for obtaining cocaine and
26   shipping it to the Philadelphia, Pennsylvania area.          The evidence
27   will show that FRANCHESKA BRIZAN was not only aware of her
28   husband’s drug trafficking activities but participated in them by
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 1   facilitating drug transactions through her assistance in her
 2   husband’s trucking business, PC Express, handling finances, and
 3   counseling PHILIP BRIZAN in the concealment of his activities.
 4          To establish that the defendant participated in a drug
 5   conspiracy, the government seeks to obtain handwriting samples from
 6   the defendants to compare with handwriting on documents recently
 7   received by the government from Douglas County Sheriff’s Department
 8   in connection with the seizure of the Freightliner truck driven by
 9   co-defendant DAMON GUNN in which over $600,000 in cash and cocaine
10   residue was found.
11                               II.   ARGUMENT
12          It is well-settled that the taking of non-testimonial
13   exemplars from a defendant does not violate the Fourth or Fifth
14   Amendments.   Schmerber v. California, 384 U.S. 757, 760-64 (1966).
15   Handwriting samples are physical evidence, which are non-
16   testimonial in nature.     Accordingly, compulsion to submit to the
17   taking of a handwriting sample does not constitute a violation of
18   the defendant’s constitutional rights.        See, e.g., Gilbert v.
19   California, 388 U.S. 263, 266-67 (1967)(a handwriting sample is
20   physical rather than testimonial evidence and therefore not
21   protected by the fifth amendment); United States v. Tanoue, 94 F.3d
22   1342, 1345 (9th Cir. 1996).
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24   ////
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 1                                III.    CONCLUSION
 2        Based on the foregoing, the Government respectfully requests
 3   that the defendants be ordered to submit to the taking of
 4   handwriting samples in a manner directed by the Government.
 5   DATED: November 3, 2007                  Respectfully submitted,
 6                                            McGREGOR W. SCOTT
                                              United States Attorney
 7
 8                                            By: /s/ Karen A. Escobar
                                                 KAREN A. ESCOBAR
 9                                            Assistant U. S. Attorney
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11
12                                       O R D E R
13
          IT IS HEREBY ORDERED that defendant FRANCHESKA BRIZAN allow
14
     Government agents to obtain handwriting samples from her in a
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     manner directed by the Government.
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     IT IS SO ORDERED.
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     Dated:   December 10, 2007                /s/ Anthony W. Ishii
19   0m8i78                              UNITED STATES DISTRICT JUDGE
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